    Case: 1:19-cv-00619-TSB-KLL Doc #: 1-1 Filed: 07/29/19 Page: 1 of 6 PAGEID #: 11

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO




  h hr\i^b vJ                                                                         d'UL 2QE019
(ENTER ABOVE THE NAME OF THE PLAINTIFF INTHIS ACTION)
                                                                                RICHARB W. NAGEL
                                                                                      Clerl; Qf Court
IF THE PLAINTIFF IS APRISONER:   PRISONER #        H                             CINCINNATI, OHIO



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       AROVP^MP  NAME OFTHE
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IF THERE ARE ADDITIONAL DEFENDANTS PLEASE LIST THEM:


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                                           COMPLAINT


      PARTIES TO THE ACTION:
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      PLAINTIFF:     PLACE YOUR NAME AND ADDRESS ON THE LINES BELOW. THE
                     ADDRESS YOU GIVE MUST BE THE ADDRESS THAT THE COURT MAY
                     CONTACT YOU AND MAIL DOCUMENTS TO YOU. A TELEPHONE
                     NUMBER IS REQUIRED.

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                     NAME - FULL NAME PLEASE - PRINT


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                     ADDRESS: STREET, CITY, STATE AND ZIP CODE

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                     TELEPHONE NUMBER


      IF THERE ARE ADDITIONAL PLAINTIFFS IN THIS SUIT, A SEPARATE PIECE OF PAPER
      SHOULD BE ATTACHED IMMEDIATELY BEHIND THIS PAGE WITH THEIR FULL NAMES,
      ADDRESSES AND TELEPHONE NUMBERS. IF NO ADDITIONAL PLAINTIFFS EXIST CONTINUE
      WITH THIS FORM.


      PAGE 2 AND 3 OF THIS FORM DEAL ONLY WITH A PLAINTIFF THAT IS INCARCERATED
      AT THE TIME OF FILING THIS COMPLAINT.
Case: 1:19-cv-00619-TSB-KLL Doc #: 1-1 Filed: 07/29/19 Page: 2 of 6 PAGEID #: 12
Case: 1:19-cv-00619-TSB-KLL Doc #: 1-1 Filed: 07/29/19 Page: 3 of 6 PAGEID #: 13
Case: 1:19-cv-00619-TSB-KLL Doc #: 1-1 Filed: 07/29/19 Page: 4 of 6 PAGEID #: 14
Case: 1:19-cv-00619-TSB-KLL Doc #: 1-1 Filed: 07/29/19 Page: 5 of 6 PAGEID #: 15
Case: 1:19-cv-00619-TSB-KLL Doc #: 1-1 Filed: 07/29/19 Page: 6 of 6 PAGEID #: 16
